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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                        GREAT FALLS DIVISION


  UNITED STATES OF AMERICA,                         CR-18-38-GF-BMM-JTJ

                   Plaintiff,

        vs.                                     ORDER ADOPTING FINDINGS
                                               AND RECOMMENDATIONS AND
  JONATHAN DALSTROM                               GRANTING MOTION TO
  CANTRELL,                                          CHANGE PLEA

                   Defendant.



      Defendant Jonathan Dalstrom Cantrell appeared before United States

Magistrate Judge John Johnston on July 19, 2018. Cantrell entered a plea of guilty

to Assault Resulting in Serious Bodily Injury, as charged in Count I of the

Indictment. Judge Johnston entered Findings and Recommendations in this matter

on July 19, 2018. (Doc. 41.)

      Judge Johnston determined: (1) that Cantrell was fully competent and

capable of entering an informed and voluntary plea; (2) that Cantrell was aware of

the nature of the charges against him and the consequences of pleading guilty to

Count II; (3) that Cantrell understood his constitutional rights, and the extent to

which he was waving those rights by pleading guilty; (4) that Cantrell’s plea of

guilty was a knowing and voluntary plea supported by an independent basis in fact
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establishing each of the essential elements of the offense charged in Count II; (5)

that Cantrell had adequate time to review the Plea Agreement with counsel; and (6)

that Cantrell understood each provision of the Plea Agreement. (Doc. 41 at 1-2).

Judge Johnston recommended that this Court accept Cantrell’s plea of guilty to

Count I, and that Count II, III, and IV of the Indictment be dismissed. (Doc. 41 at

2). Neither party filed objections to Judge Johnston’s Findings and

Recommendations.

      The Court has reviewed Judge Johnston’s Findings and Recommendations

for clear error. McDonnell Douglas Corp. v. Commodore Bus. Mach., Inc., 656

F.2d 1309, 1313 (9th Cir. 1981). The Court finds no error in Judge Johnston’s

Findings and Recommendations, and adopts them in full.

      Accordingly, IT IS ORDERED:

   1. Cantrell’s Motion to Change Plea (Doc. 31) is GRANTED.

   2. The Court will defer acceptance of the Plea Agreement (Doc. 33) until

sentencing, at which time the Court will have reviewed both the Plea

Agreement and the Presentence Investigation Report.

      DATED this 13th day of August, 2018.




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